Case 19-02004-jw            Doc 17       Filed 04/22/19 Entered 04/22/19 16:39:10                      Desc Main
                                         Document      Page 1 of 11



                                    UNITED STATES BANKRUPTCY COURT

                                        DISTRICT OF SOUTH CAROLINA


 IN RE:                                                    CASE NO: 19-02004-JW

 Monica Tatorus Holmes                                     CHAPTER 13

                               DEBTOR(S)

                                                                    NOTICE OF OPPORTUNITY TO OBJECT
 Address: 618 Robin Street, Loris, SC 29569




 Last four digits of Social-Security or Individual Tax-
 Payer-Identification (ITIN) No(s)., (if any):
 9594




        The Debtor(s) in the above captioned case filed a Chapter 13 on April 8, 2019. The plan is attached.
        Your rights may be affected by the plan. You should read the plan carefully and discuss it with your
attorney, if you have one in this bankruptcy case. (If you do not have an attorney, you may wish to consult
one.)

          Any objection to confirmation of the chapter 13 plan must be in writing filed with the Court at 1100 Laurel
Street, Columbia, SC 29201-2423 and served on the chapter 13 trustee, the debtors, and any attorney for the debtors
no later than 21 days after the service of the chapter 13 plan, as computed under Fed. R. Bankr. P. 9006(a).
Objections to confirmation may be overruled if filed late or the objecting party fails to appear and prosecute the
objection. If no objection is timely filed, the plan may be confirmed by the Court without further notice.

         If you file an objection, you or your attorney must attend the hearing scheduled by the court on
confirmation of the plan. Notice of the confirmation hearing is provided in section 9 of the Notice of Chapter 13
Bankruptcy Case. However, the Court may set an earlier status hearing on any objection upon notice of the
applicable parties.

          If you or your attorney do not take these steps, the court may determine that you do not oppose the terms or
relief sought in the plan and may enter an order confirming the plan.

Date: April 22, 2019                                           /s/ Spencer Powell, ID #12334
                                                               Attorney for Debtor
                                                               1800 N. Oak Street
                                                               Myrtle Beach, SC 29577
                                                               Tel: 843-448-4246
                                                               Fax: 843-448-4292
                                                               Email: bankruptcy@clemmonslaw.com
               Case 19-02004-jw                         Doc 17       Filed 04/22/19 Entered 04/22/19 16:39:10                       Desc Main
                                                                     Document      Page 2 of 11
 Fill in this information to identify your case:
 Debtor 1               Monica Tatorus Holmes                                                                          Check if this is a modified plan, and
                              First Name            Middle Name            Last Name                                   list below the sections of the plan that
                                                                                                                       have been changed.
 Debtor 2
 (Spouse, if filing) First Name       Middle Name            Last Name
 United States Bankruptcy Court for the:          DISTRICT OF SOUTH CAROLINA                                           Pre-confirmation modification
                                                                                                                       Post-confirmation modification
 Case number:                 19-02004
 (If known)




District of South Carolina
Chapter 13 Plan                                                                                                                                          12/17

 Part 1:       Notices

To Debtor(s):              This form sets out options that may be appropriate in some cases, but the presence of an option on the form does not
                           indicate that the option is appropriate in your circumstances. Plans that do not comply with the Bankruptcy Code, the
                           Federal Rules of Bankruptcy Procedure, this Court’s local rules, and judicial rulings may not be confirmable.

                           In the following notice to creditors, you must check each box that applies

To Creditors:              Your rights may be affected by this plan. Your claim may be reduced, modified, or eliminated.

                           You should read this plan carefully and discuss it with your attorney if you have one in this bankruptcy case. If you do not have
                           an attorney, you may wish to consult one. Failure to object may constitute an implied acceptance of and consent to the relief
                           requested in this document.

                           If you oppose the plan’s treatment of your claim or any provision of this plan, you or your attorney must file an objection to
                           confirmation at least 7 days before the date set for the hearing on confirmation, unless otherwise ordered by the Bankruptcy
                           Court. The Bankruptcy Court may confirm this plan without further notice if no objection to confirmation is filed. See
                           Bankruptcy Rule 3015. In addition, pursuant to Federal Rule of Bankruptcy Procedure 3002, you must file a timely proof of
                           claim in order to be paid under any plan. Confirmation of this plan does not bar a party in interest from objecting to a claim.

                           The following matters may be of particular importance. Debtors must check one box on each line to state whether or not the
                           plan includes each of the following items. If an item is checked as “Not Included” or if both boxes are checked, the provision
                           will be ineffective if set out later in the plan.

 1.1          A limit on the amount of a secured claim, set out in Section 3.2, which may result in               Included                   Not Included
              a partial payment or no payment at all to the secured creditor
 1.2          Avoidance of a judicial lien or nonpossessory, nonpurchase-money security interest,                 Included                   Not Included
              set out in Section 3.4.
 1.3          Nonstandard provisions, set out in Part 8.                                                          Included                   Not Included

 1.4          Conduit Mortgage Payments: ongoing mortgage payments made by the trustee                            Included                   Not Included
              through plan, set out in Section 3.1(c) and in Part 8

 Part 2:       Plan Payments and Length of Plan

2.1       The debtor submits to the supervision and control of the trustee all or such portion of future earnings or other future income as is necessary
for the execution of the plan.

Unless all allowed claims (other than long-term claims) are fully paid pursuant to the plan, the debtor will make regular payments to the trustee as
follows:


$430.00 per Month for 57 months

Insert additional lines if needed.

The debtor and trustee may stipulate to a higher payment in order to provide adequate funding of the plan without the necessity of a modification to
the plan. The stipulation is effective upon filing with the Court.

Additional monthly payments will be made to the extent necessary to make the payments to creditors specified in this plan.


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              Case 19-02004-jw                          Doc 17       Filed 04/22/19 Entered 04/22/19 16:39:10                       Desc Main
                                                                     Document      Page 3 of 11
 Debtor                Monica Tatorus Holmes                                                     Case number         19-02004

2.2          Regular payments to the trustee will be made from future income in the following manner:

             Check all that apply:
                      The debtor will make payments pursuant to a payroll deduction order.
                      The debtor will make payments directly to the trustee.
                      Other (specify method of payment): TFSBillpay.com


2.3 Income tax refunds.
    Check one.
                  The debtor will retain any income tax refunds received during the plan term.

                          The debtor will treat income refunds as follows:


2.4 Additional payments.
    Check one.
                  None. If “None” is checked, the rest of § 2.4 need not be completed or reproduced.

 Part 3:      Treatment of Secured Claims

To receive a distribution from the trustee, a proof of claim, including adequate supporting documentation and filed in compliance with Official Rules
and Forms, must be filed with the Court. For purposes of plan distribution, a claim shall be treated as provided for in a confirmed plan. However, if a
claim is treated as secured in a confirmed plan and the affected creditor elects to file an unsecured claim, such claim, unless timely amended, shall be
treated as unsecured for purposes of plan distribution. Any creditor holding a claim secured by property that is removed from the protection of the
automatic stay by order, surrender, or through operation of the plan will receive no further distribution from the chapter 13 trustee on account of any
secured claim. This provision also applies to creditors who may claim an interest in, or lien on, property that is removed from the protection of the
automatic stay by another lienholder or released to another lienholder, unless the Court orders otherwise, but does not apply if the sole reason for its
application arises under 11 U.S.C. § 362(c)(3) or (c)(4). Any funds that would have otherwise been paid to a creditor, but pursuant to these
provisions will not be paid, will be distributed according to the remaining terms of the plan. Any creditor affected by these provisions and who has
filed a timely proof of claim may file an itemized proof of claim for any unsecured deficiency within a reasonable time after the removal of the
property from the protection of the automatic stay. Secured creditors that will be paid directly by the debtor may continue sending standard payment
and escrow notices, payment coupons, or inquiries about insurance, and such action will not be considered a violation of the automatic stay.

3.1          Maintenance of payments and cure or waiver of default, if any.

             Check all that apply. Only relevant sections need to be reproduced.

                          None. If “None” is checked, the rest of § 3.1 need not be completed or reproduced.

3.2          Request for valuation of security and modification of undersecured claims. Check one.

                          None. If “None” is checked, the rest of § 3.2 need not be completed or reproduced.

3.3          Other secured claims excluded from 11 U.S.C. § 506 and not otherwise addressed herein.

             Check one.
                     None. If “None” is checked, the rest of § 3.3 need not be completed or reproduced.
                     The claims listed below are being paid in full without valuation or lien avoidance.

                          These claims will be paid in full under the plan with interest at the rate stated below. These payments will be disbursed either by
                          the trustee or directly by the debtor, as specified below. Holders of secured claims shall retain liens to the extent provided by 11
                          U.S.C. § 1325(a)(5)(B)(i). Secured creditors paid the full secured claim provided for by this plan shall satisfy any liens within a
                          reasonable time.

 Name of Creditor                    Collateral                             Estimated amount of claim Interest rate            Estimated monthly payment
                                                                                                                               to creditor

                                     2002 Hyundai Sonata 148,370
                                     miles
 Auto Money                          VIN: KMHWF25H62A576588                              $1,700.00                6.25%                                      $30.00


District of South Carolina
Effective December 1, 2017                                                    Chapter 13 Plan                                                   Page 2
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              Case 19-02004-jw                          Doc 17         Filed 04/22/19 Entered 04/22/19 16:39:10                        Desc Main
                                                                       Document      Page 4 of 11
 Debtor                Monica Tatorus Holmes                                                           Case number       19-02004

 Name of Creditor                    Collateral                                  Estimated amount of claim Interest rate         Estimated monthly payment
                                                                                                                                 to creditor

                                                                                                                                 (or more)

                                                                                                                                 Disbursed by:
                                                                                                                                    Trustee
                                                                                                                                    Debtor
                                     618 Robbins Street Loris, SC
                                     29569 Horry County                                                                0.00%
                                     1993 Sykline 28x64 Mobile                                                       (contract
 Pandora Searls                      Home                                                       $8,090.00                rate)                             $100.00
                                                                                                                                 (or more)

                                                                                                                                 Disbursed by:
                                                                                                                                    Trustee
                                                                                                                                    Debtor

Insert additional claims as needed.

3.4          Lien avoidance.

Check one.
                          None. If “None” is checked, the rest of § 3.4 need not be completed or reproduced.
                          The remainder of this paragraph will be effective only if the applicable box in Part 1 of this plan is checked

                          The judicial liens or nonpossessory, nonpurchase money security interests securing the claims listed below impair exemptions to
                          which the debtor would have been entitled under 11 U.S.C. § 522(b). Unless otherwise ordered by the Court, a judicial lien or
                          security interest securing a claim listed below will be avoided to the extent that it impairs such exemptions upon entry of the
                          order confirming the plan. The amount of the judicial lien or security interest that is avoided will be treated as an unsecured
                          claim in Part 5.1 to the extent allowed. The amount, if any, of the judicial lien or security interest that is not avoided will be paid
                          in full as a secured claim under the plan. See 11 U.S.C. § 522(f) and Bankruptcy Rule 4003(d). If more than one lien is to be
                          avoided, provide the information separately for each lien.

                           Choose the appropriate form for lien avoidance

 Name of               Estimated             Total of all    Applicable               Value of debtor's    Amount of lien not Amount of lien avoided
 creditor and          amount of             senior/unavoida Exemption and            interest in property avoided (to be paid
 description           lien                  ble liens       Code Section                                  in 3.2 above)
 of property
 securing lien
 Rivertown                                                           $500.00 SC
 Credit                                                              Code Section
                                                                     15-41-30(A)(3
 Household                                                           )
 Items                 $600.00                        $0.00                                     $500.00               $0.00                        $600.00
 Name of               Estimated             Total of all    Applicable               Value of debtor's    Amount of lien not Amount of lien avoided
 creditor and          amount of             senior/unavoida Exemption and            interest in property avoided (to be paid
 description           lien                  ble liens       Code Section                                  in 3.2 above)
 of property
 securing lien
 Western
 Shamrock
 Corporatio                                                          $500.00 SC
 n                                                                   Code Section
                                                                     15-41-30(A)(3
 Household                                                           )
 Items                 $700.00                          $0.00                                  $500.00                  $0.00                                  $700.00

                           Use this for avoidance of liens on co-owned property only.



District of South Carolina
Effective December 1, 2017                                                           Chapter 13 Plan                                              Page 3
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              Case 19-02004-jw                          Doc 17       Filed 04/22/19 Entered 04/22/19 16:39:10                           Desc Main
                                                                     Document      Page 5 of 11
 Debtor                Monica Tatorus Holmes                                                         Case number        19-02004

 Name of               Total equity          Debtor’s equity Applicable            Non-exempt equity Estimated lien              Amount of Amount of lien
 creditor and          (value of             (Total equity   Exemption and         (Debtor's equity                              lien not   avoided
 description           debtor's              multiplied by   Code Section          less exemption)                               avoided(to
 of property           property less         debtor’s                                                                            be paid in
 securing lien         senior/unavoi         proportional                                                                        3.2 above)
                       dable liens)          interest in
                                             property)
 -NONE-


Insert additional claims as needed.

 3.5         Surrender of collateral.

      Check one.
                          None. If “None” is checked, the rest of § 3.5 need not be completed or reproduced.

 Part 4:      Treatment of Fees and Priority Claims

4.1       General
The debtor shall pay all post-petition priority obligations, including but not limited to taxes and post-petition domestic support, and pay regular
payments on assumed executory contracts or leases, directly to the holder of the claim as the obligations come due, unless otherwise ordered by the
Court. Trustee’s fees and all allowed priority claims, including domestic support obligations other than those treated in § 4.5, will be paid in full
without postpetition interest.

4.2          Trustee’s fees

Trustee’s fees are governed by statute and may change during the course of the case.

4.3          Attorney's fees.

             a.            The debtor and the debtor’s attorney have agreed to an attorney’s fee for the services identified in the Rule 2016(b) disclosure
                           statement filed in this case. Fees entitled to be paid through the plan and any supplemental fees as approved by the Court shall be
                           disbursed by the trustee as follows: Following confirmation of the plan and unless the Court orders otherwise, the trustee shall
                           disburse a dollar amount consistent with the Judge’s guidelines to the attorney from the initial disbursement. Thereafter, the
                           balance of the attorney’s compensation as allowed by the Court shall be paid, to the extent then due, with all funds remaining
                           each month after payment of trustee fees, allowed secured claims and pre-petition arrearages on domestic support obligations. In
                           instances where an attorney assumes representation in a pending pro se case and a plan is confirmed, a separate order may be
                           entered by the Court, without further notice, which allows for the payment of a portion of the attorney’s fees in advance of
                           payments to creditors.

             b.            If, as an alternative to the above treatment, the debtor’s attorney has received a retainer and cost advance and agreed to file fee
                           applications for compensation and expenses in this case pursuant to 11 U.S.C. § 330, the retainer and cost advance shall be held
                           in trust until fees and expense reimbursements are approved by the Court. Prior to the filing of this case, the attorney has
                           received $         and for plan confirmation purposes only, the fees and expenses of counsel are estimated at $       or less.

4.4          Priority claims other than attorney’s fees and those treated in § 4.5.

             Check one.
                          The debtor is unaware of any priority claims at this time. If funds are available, the trustee is authorized to pay on any allowed
                          priority claim without further amendment of the plan.

                          Domestic Support Claims. 11 U.S.C. § 507(a)(1):

                           a.           Pre-petition arrearages. The trustee shall pay the pre-petition domestic support obligation arrearage to (name of DSO
                                        recipient), at the rate of $      or more per month until the balance, without interest, is paid in full. Add additional
                                        creditors as needed.

                           b.           The debtor shall pay all post-petition domestic support obligations as defined in 11 U.S.C. § 101(14A) on a timely basis
                                        directly to the creditor.



District of South Carolina
Effective December 1, 2017                                                       Chapter 13 Plan                                                   Page 4
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              Case 19-02004-jw                          Doc 17       Filed 04/22/19 Entered 04/22/19 16:39:10                           Desc Main
                                                                     Document      Page 6 of 11
 Debtor                Monica Tatorus Holmes                                                         Case number        19-02004

                           c.           Any party entitled to collect child support or alimony under applicable non-bankruptcy law may collect those
                                        obligations from property that is not property of the estate or with respect to the withholding of income that is property
                                        of the estate or property of the debtor for payment of a domestic support obligation under a judicial or administrative
                                        order or a statute.

              Other Priority debt. The trustee shall pay all remaining pre-petition 11 U.S.C. § 507 priority claims on a pro rata basis. If funds are
available, the trustee is authorized to pay on any allowed priority claim without further amendment of the plan.

4.5          Domestic support obligations assigned or owed to a governmental unit and paid less than full amount.

             Check one.
                     None. If “None” is checked, the rest of § 4.5 need not be completed or reproduced.



 Part 5:      Treatment of Nonpriority Unsecured Claims

5.1          Nonpriority unsecured claims not separately classified. Check one

             Allowed nonpriority unsecured claims that are not separately classified will be paid, pro rata by the trustee to the extent that funds are
             available after payment of all other allowed claims.

                The debtor estimates payments of less than 100% of claims.
                The debtor proposes payment of 100% of claims.
                The debtor proposes payment of 100% of claims plus interest at the rate of %.




5.2          Maintenance of payments and cure of any default on nonpriority unsecured claims. Check one.

                          None. If “None” is checked, the rest of § 5.2 need not be completed or reproduced.

5.3          Other separately classified nonpriority unsecured claims. Check one.

                          None. If “None” is checked, the rest of § 5.3 need not be completed or reproduced.

 Part 6:      Executory Contracts and Unexpired Leases

6.1          The executory contracts and unexpired leases listed below are assumed and will be treated as specified. All other executory
             contracts and unexpired leases are rejected. Check one.

                          None. If “None” is checked, the rest of § 6.1 need not be completed or reproduced.
                          Assumed items. Current installment payments will be disbursed directly by the debtor, as specified below, subject to any
                          contrary court order or rule. Prepetition arrearage payments will be disbursed by the trustee unless otherwise ordered.


 Name of Creditor               Description of leased                Current installment           Estimated amount of             Estimated monthly
                                property or executory                payment                       arrearage through month         payment on arrearage to be
                                contract                                                           of filing or conversion         disbursed by the trustee
 Stephen Flint                  Lot Rent                                             $200.00                          $6,000                           $75.00

                                                                                                                                   (or more)

Insert additional claims as needed.

 Part 7:      Vesting of Property of the Estate

7.1        Property of the estate will vest in the debtor as stated below:
      Check the appliable box:

              Upon confirmation of the plan, property of the estate will remain property of the estate, but possession of property of the estate shall
District of South Carolina
Effective December 1, 2017                                                       Chapter 13 Plan                                                   Page 5
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              Case 19-02004-jw                          Doc 17       Filed 04/22/19 Entered 04/22/19 16:39:10                    Desc Main
                                                                     Document      Page 7 of 11
 Debtor                Monica Tatorus Holmes                                                    Case number      19-02004

              remain with the debtor. The chapter 13 trustee shall have no responsibility regarding the use or maintenance of property of the estate.
              The debtor is responsible for protecting the estate from any liability resulting from operation of a business by the debtor. Nothing in the
              plan is intended to waive or affect adversely any rights of the debtor, the trustee, or party with respect to any causes of action owned by
              the debtor.

              Other. The debtor is proposing a non-standard provision for vesting, which is set forth in section 8.1. This provision will be effective
              only if the applicable box in Section 1.3 of this plan is checked and a proposal for vesting is provided in Section 8.1.

 Part 8:      Nonstandard Plan Provisions

8.1          Check "None" or List Nonstandard Plan Provisions
                    None. If “None” is checked, the rest of Part 8 need not be completed or reproduced.

(a) Statement in Support of Confirmation:
Debtor understands the following: (1) The obligations set forth in the plan, including the amount, method, and timing of payments made
to the Trustee or directly to creditors; (2) The consequences of any default under the Plan; and (3) That debtor(s) may not agree to sell or
sell property, employ professionals, incur debt (including modification of debt), or request or agree to mortgage modification or other loss
mitigation during the pendency of the case without the advance authorization of the Bankruptcy Court.

(b) Reservation of Rights
Confirmation of this plan does not bar a party in interest from any actions discovered from the documentation, or lack thereof, in a proof of
claim. The debtor(s) specifically reserve(s) any currently undiscovered or future claims, rights or causes of action the debtor(s) may have, regarding
any issues not specifically addressed or determined by the plan, against any creditor or other party in interest including, but not limited to, violations
of applicable consumer protections codes and actions under 11 U.S.C. Sections 542, 543, 544, 547, and 548.

(c) The confirmation of this plan may determine the character (secured, unsecured, or priority), amount and timing of distribution of a
creditor's claim regardless of the proof of claim filed. If a creditor objects to a claim's treatment under the plan, the creditor must timely
object to confirmation.

(d) Part 1 of this chapter 13 form plan indicates that all objections to the confirmation of the plan must be filed no later than 7 days before the date set
for the hearing on confirmation, unless otherwise ordered. In Operating Order 18-04, Judge Waites has otherwise ordered that all objections to the
confirmation of a chapter 13 plan in cases before him shall be filed with the Court no later than 21 days after the date of service of the plan.
Therefore, all objections to the confirmation of this chapter 13 plan must be filed with the court no later than 21 days after the date of service
of this plan.

(e) Debtor shall be allowed to seek enrollment in any applicable income-driven or income-based repayment (known commonly as "IDR") plan with
the U.S. Department of Education and/or other student loan services, guarantors, etc. or public service loan forgiveness programs (sometimes referred
to as "PSLF") (with such servicer or agency referred to hereafter as "Ed"), without disqualification due to bankruptcy. Ed shall not be required to
allow enrollment in any repayment or forgiveness program unless the Debtor otherwise qualifies for such plan. Debtor may, if necessary and desired,
seek a consolidation of her student loans by separate motion and subject to subsequent court order. Upon determination by Ed of qualification for
enrollment in an IDS and calculation of any payment required under such by the Debtor, the Debtor shall, within 30 days, notify the Chapter 13
Trustee of the amount of such payment. At such time, the Trustee or the Debtor may, if necessary, file a Motion to Modify the Chapter 13 Plan to
allow such direct payment of the student loan(s) and adjust thepayment to other general unsecured claims as necessary to avoid any unfair
discrimination. Debtor shall re-enroll in the applicable program annually or as otherwise required and shall, within 30 days following a determination
of her updated payment, notify the Chapter 13 Trustee of such payment. At such time, the Trustee or the Debtor, may if necessary, file a Motion to
Modify the Chapter 13 Plan to allow such direct payment of the student loan(s) and adjust the payment to other general unsecured claims as
necessary to avoid any unfair discrimination. During the pendency of any application by the Debtor to consolidate student loan, to enroll in an IDR,
or related program, direct payment of student loans under an IDR or similar program, or during the pendency of any default in payments of the
student loans under an IDR or other program, it shall not be a violation of the stay or other State or Federal Laws for Ed to send Debtor normal
monthly statements regarding payments due and any other communications including, without limitation, notices of late payments or delinquency.
These communications may expressly include telephone calls and e-mails. Debtor's attorney may seek additional compensation by separate
applications and court order for services provided in connection with the enrollment and performance under an IDR or PSLF.


 Part 9:      Signatures:

9.1          Signatures of debtor and debtor attorney

             The debtor and the attorney for the debtor, if any, must sign below.

 X     /s/ Monica Tatorus Holmes                                               X
       Monica Tatorus Holmes                                                        Signature of Debtor 2
District of South Carolina
Effective December 1, 2017                                                    Chapter 13 Plan                                                Page 6
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              Case 19-02004-jw                          Doc 17       Filed 04/22/19 Entered 04/22/19 16:39:10                Desc Main
                                                                     Document      Page 8 of 11
 Debtor                Monica Tatorus Holmes                                                        Case number   19-02004

       Signature of Debtor 1

       Executed on            April 22, 2019                                          Executed on

 X     /s/ Spencer R. Powell                                                   Date     April 22, 2019
       Spencer R. Powell
       Signature of Attorney for debtor DCID#12334

By filing this document, the debtor, if not represented by an attorney, or the debtor and the attorney for the debtor certify(ies) that this
Chapter 13 plan contains no nonstandard provision other than those set out in Part 8.




District of South Carolina
Effective December 1, 2017                                                    Chapter 13 Plan                                          Page 7
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Case 19-02004-jw    Doc 17    Filed 04/22/19 Entered 04/22/19 16:39:10         Desc Main
                              Document      Page 9 of 11



                      UNITED STATES BANKRUPTCY COURT
                       THE DISTRICT OF SOUTH CAROLINA

  IN RE:                           )
                                   )                Chapter 13
  Monica Tatorus Holmes            )
                                   )                Case No.: 19-02004-jw
                                   )
                    Debtors.       )
  ________________________________ )

                             CERTIFICATE OF SERVICE

  This is to certify that on April 22, 2019, I mailed the Chapter 13 Plan filed on April
  22, 2019, in regards to the above-referenced action to the creditors listed on the
  attached mailing matrix.


  I further certify that on this date I provided a copy of the foregoing to James
  Wyman, Chapter 13 Trustee, via the Electronic Case Filing System.

  Dated: April 22, 2019              /s/ Spencer Powell, Esq.
                                     Spencer Powell, (ID#12334)
                                     Attorney For Debtor
                                     1800 Oak Street
                                     Myrtle Beach, SC 29577
                                     Tel: 843-448-4246
                                     Fax: 843-448-4292
                                     Email: bankruptcy@clemmonslaw.com




                                               1
                Case 19-02004-jw   Doc 17   Filed 04/22/19        Entered 04/22/19 16:39:10      Desc Main
Label Matrix for local noticing         J. Bratton
                                           DocumentDavis UnitedPage
                                                                States10 of 11      Ashley Funding Services, LLC
0420-2                                  Bankruptcy Courthouse                       Corporation of America Holdings
Case 19-02004-jw                        1100 Laurel Street                          Resurgent Capital Services
District of South Carolina              Columbia, SC 29201-2423                     PO Box 10587
Charleston                                                                          Greenville SC 29603-0587
Mon Apr 22 16:23:47 EDT 2019
Ashley Funding Services, LLC            Auto Money                                  Debt Recovery Solutions, LLC
Resurgent Capital Services              1204 Highway 17 South                       6800 Jericho Tpke
PO Box 10587                            North Myrtle Beach SC 29582-3707            Suite 113B
Greenville, SC 29603-0587                                                           Syosset NY 11791-4401


Dept of Ed / Navient                    Diversified Consultants, Inc.               Enhanced Recovery Corporation
Attn: Claims Dept                       PO Box 551268                               8014 Bayberry Road
Po Box 9635                             Jacksonville FL 32255-1268                  Jacksonville FL 32256-7412
Wilkes Barr PA 18773-9635


First Reliance Bank                     Horry Telephone Cooperative                 Internal Revenue Service (p)
2170 W Palmetto St                      PO Box 1820                                 Centralized Insolvency Operation
Florence SC 29501-3900                  Conway SC 29528-1820                        Post Office Box 7346
                                                                                    Philadelphia PA 19101-7346


McLeod Loris Seacoast                   Merchants Adjustment Service                Midwest Recovery Systems
4000 Highway 9 East                     Attn: Bankruptcy                            PO Box 899
Little River SC 29566-7833              56 North Florida St                         Florissant MO 63032-0899
                                        Mobile AL 36607-3108


National Credit Adjusters               PDMCS                                       Pandora Searls
PO Box 3023                             PO Box 1597                                 6712 Ironstone Drive
Hutchinson KS 67504-3023                Florence SC 29503-1597                      Columbus GA 31907-5708



RSI                                     Receivables Performance Management          Rent A Center
1325 Garner Lane, Suite C               PO Box 1548                                 2715 Highway 17 South
Columbia SC 29210-8327                  Lynnwood WA 98046-1548                      North Myrtle Beach SC 29582-4521



Rivertown Credit                        South Carolina Department of Revenue        Stephen Flint
1110 Main Street                        PO Box 125                                  524 N McPherson Church Road
Conway SC 29526-4067                    Columbia SC 29202-0125                      Fayetteville NC 28303-0278



Stephen Flint                           Western Shamrock Corporation                Western Shamrock Corporation
c/o Jim Prince                          801 South Abe Street                        dba National Finance
4214 Mayfair Street, Suite B            San Angelo TX 76903-6735                    Bankruptcy Department
Myrtle Beach SC 29577-5982                                                          84 Villa Road Ste 303
                                                                                    Greenville SC 29615-3013

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Mount Pleasant, SC 29465-0997           Loris, SC 29569-0828                        1800 N. Oak Street, Suite A
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                Case 19-02004-jw            Doc 17       Filed 04/22/19 Entered 04/22/19 16:39:10                      Desc Main
US Trustee’s Office                                     Document      Page 11 of 11
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